Case 1:05-cv-01193-.]DT-STA Document 6 Filed 09/01/05 Page 1 of 3 Page|D ._'L_
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IN THE UNITED sTATEs DISTRICT COURT OSs£ `\\

FOR THE WESTERN DISTRICT OF TENNESSEE s _ /,o,,/ "QQ
EASTERN DIVISION Qs:;? ' 3 35
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DAVI];) GREEsoN, ) /’ 4a1 gag/sf
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Piaim~iff, )
)
VS. ) NO. 05-1193-T
)
COMMIS SIONER OF )
socrAL sEcURrrY, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Colnmissioner of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff‘s brief in support of this appeal must be filed Within 30 days of the
date of this order.

Defendant's brief in opposition to this appeal must be filed Within 30 days after
service of Plaintiff‘s brief.

lf Plaintiff Wishes to file a reply brief, such brief must be filed Within 10 days after
service of Defendant's brief.

F ailure of either party to comply With this order Will result in appropriate sanctions,
Which may include consideration of the case without regard to that party's brief, or dismissal

of the action.

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Oral argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

lT IS SO ORDERED.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01193 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

